Case 2:18-cv-07252-DSF-LAL Document 78 Filed 11/30/21 Page 1 of 2 Page ID #:1672




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                                    UNITED STATES DISTRICT COURT
   7
                                   CENTRAL DISTRICT OF CALIFORNIA
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 10    JOSEPH CHANDLER DAVALL,                            Case No. 2:18-CV-7252-DSF (LAL)

 11                                     Petitioner,       ORDER ACCEPTING FINAL REPORT
                                                          AND RECOMMENDATION OF UNITED
 12                           v.                          STATES MAGISTRATE JUDGE
 13    WARREN MONTGOMERY,

 14                                        Respondent.

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 17           Pursuant to 28 U.S.C. § 636, the Court has reviewed the First Amended Petition, the
 18    Magistrate Judge’s Final Report and Recommendation, Petitioner’s Objections and the
 19    remaining record, and has made a de novo determination.
 20           Petitioner’s Objections lack merit for the reasons stated in the Final Report and
 21    Recommendation.
 22           Accordingly, IT IS ORDERED THAT:
 23           1.     The Final Report and Recommendation is approved and accepted;
 24           2.     Judgment be entered denying the First Amended Petition and dismissing this
 25                  action with prejudice; and
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 27    ///
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Case 2:18-cv-07252-DSF-LAL Document 78 Filed 11/30/21 Page 2 of 2 Page ID #:1673




   1        3.    The Clerk serve copies of this Order on the parties.
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   3   DATED: November 30, 2021
   4                                            Honorable Dale S. Fischer
                                                UNITED STATES DISTRICT JUDGE
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